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                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

In Re:
                                                 Case No. 1:15-bk-20765


BRUNO RANIERI                                    Chapter 13


                                                 Honorable A. Benjamin Goldgar
                                Debtor(s)

                                      NOTICE OF MOTION

To:      Mr. Timothy W. Williams
         21st Mortgage Corporation
         620 Market Street
         Suite 100
         Knoxville, Tennessee 37902

       PLEASE TAKE NOTICE that on January 11, 2019 at 9:30 a.m., the undersigned will
appear before the Honorable A. Benjamin Goldgar at the Park City Branch Court, 301 South
Greenleaf Avenue, Courtroom B, Park City, Illnois 60085 and will then and there present
DEBTOR’S MOTION FOR CONTEMPT OF ORDER CONFIRMING PLAN, a copy of
which is hereby served upon you.

                                                      /s/ Joseph Scott Davidson

                                                      Joseph Scott Davidson
                                                      Mohammed Omar Badwan
                                                      SULAIMAN LAW GROUP, LTD.
                                                      2500 South Highland Avenue
                                                      Suite 200
                                                      Lombard, Illinois 60148
                                                      +1 630-575-8181
                                                      jdavidson@sulaimanlaw.com
                                                      mbadwan@sulaimanlaw.com

                                                      Counsel for Bruno Ranieri
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                                CERTIFICATE OF SERVICE

        I, Joseph Scott Davidson, an attorney, hereby certify that on December 10, 2018,
DEBTOR’S MOTION FOR CONTEMPT OF ORDER CONFIRMING PLAN was filed with
the Clerk of the Court of the United States Bankruptcy Court for the Northern District of Illinois
by using the CM/ECF system. I have mailed this document by United States Postal Service
Certified Mail, postage prepaid to:

Mr. Timothy W. Williams
21st Mortgage Corporation
620 Market Street
Suite 100
Knoxville, Tennessee 37902

                                                            /s/ Joseph Scott Davidson

                                                            Joseph Scott Davidson
                                                            Mohammed Omar Badwan
                                                            SULAIMAN LAW GROUP, LTD.
                                                            2500 South Highland Avenue
                                                            Suite 200
                                                            Lombard, Illinois 60148
                                                            +1 630-575-8181
                                                            jdavidson@sulaimanlaw.com
                                                            mbadwan@sulaimanlaw.com

                                                            Counsel for Bruno Ranieri
                  Case
Label Matrix for local    15-20765
                       noticing           Doc 61 OCWEN
                                                   Filed
                                                       LOAN12/10/18
                                                            SERVICING, LLC,Entered   12/10/18
                                                                            AS SERVICER FOR U 15:18:35      Desc Main
                                                                                                 Ocwen Loan Servicing, LLC as servicer for U.
0752-1                                                 Document          Page
                                                 c/o Codilis and Associates, P.C. 3 of 9         C/O Codilis & Associates, P.C.
Case 15-20765                                        15W030 North Frontage Road                           15W030 North Frontage Rd.
Northern District of Illinois                        Suite 100                                            Suite 100
Chicago                                              Burr Ridge, IL 60527-6921                            Burr Ridge, IL 60527-6921
Mon Dec 10 12:06:39 CST 2018
U.S. Bankruptcy Court                                (p)21ST MORTGAGE CORPORATION                         Equifax Information Services, LLC
Eastern Division                                     PO BOX 477                                           1550 Peachtree Street NW
219 S Dearborn                                       KNOXVILLE TN 37901-0477                              Atlanta, GA 30309-2468
7th Floor
Chicago, IL 60604-1702

Experian Information Solutions, Inc.                 (p)INTERNAL REVENUE SERVICE                          Internal Revenue Service
475 Anton Boulevard                                  CENTRALIZED INSOLVENCY OPERATIONS                    PO Box 7346
Costa Mesa, CA 92626-7037                            PO BOX 7346                                          Philadelphia, PA 19101-7346
                                                     PHILADELPHIA PA 19101-7346


Ocwen Loan                                           Ocwen Loan Servicing, LLC, as servicer for           Trans Union LLC
1661 Worthington Road, Suite 100                     c/o Codilis & Associates, P.C.                       1561 E. Orangethorpe Avenue
West Palm Beach, FL 33409-6493                       15W030 N. Frontage Road                              Fullerton, CA 92831-5210
                                                     Suite #100
                                                     Burr Ridge, IL 60527-6921

U.S. Bank National Association                       Bruno Ranieri                                        Charles L. Magerski
c/o Ocwen Loan Servicing, LLC                        1151 Franklin Street                                 Sulaiman Law Group, LTD
Attn: Bankruptcy Department                          Mundelein, IL 60060-5376                             900 Jorie Boulevard
P.O. BOX 24605                                                                                            Suite 150
West Palm Beach, FL 33416-4605                                                                            Oak Brook, IL 60523-3810

Glenn B Stearns                                      Joseph S Davidson                                    Nathan C Volheim
801 Warrenville Road                                 Sulaiman Law Group, Ltd.                             Sulaiman Law Group, Ltd.
Suite 650                                            2500 S. Highland Ave                                 2500 S. Highland Ave
Lisle, IL 60532-4350                                 Suite 200                                            Suite 200
                                                     Lombard, IL 60148-7103                               Lombard, IL 60148-7103

Patrick S Layng
Office of the U.S. Trustee, Region 11
219 S Dearborn St
Room 873
Chicago, IL 60604-2027



                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


21st Mortgage Corp                                   (d)21st Mortgage Corporation                         (d)21st Mortgage Corporation
PO BOX 477                                           620 Market Street                                    Attn: Legal
Knoxville, TN 37901                                  Knoxville, TN 37901                                  P.O. Box 477
                                                                                                          Knoxville, TN 37901


Internal Revenue Service
Department of Treasury
Kansas City, MO 64999
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                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)21st Mortgage Corporation                         (u)U.S. Bank National Association, as Trustee        End of Label Matrix
                                                                                                          Mailable recipients   18
                                                                                                          Bypassed recipients    2
                                                                                                          Total                 20
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                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 In Re:
                                                       Case No. 1:15-bk-20765


 BRUNO RANIERI                                         Chapter 13


                                                       Honorable A. Benjamin Goldgar
                                  Debtor(s)

               MOTION FOR CONTEMPT OF ORDER CONFIRMING PLAN

          BRUNO RANIERI (“Ranieri”), through counsel, SULAIMAN LAW GROUP, LTD.,

pursuant to Fed. R. Bankr. P. 9020, moves this Court for Order of Contempt against 21ST

MORTGAGE CORPORATION (21st Mortgage) for its violation of this Court’s Order Confirming

Plan. In support thereof, Ranieri states as follows:

          1.   This Court has jurisdiction to consider this Motion pursuant to 28 U.S.C. §§ 157

and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

          2.   On February 23, 2007, Debtor executed a mortgage (the “Mortgage”) in favor of

Taylor, Bean & Whitaker Mortgage Corporation.

          3.   The Mortgage secured the repayment of the indebtedness evidenced by a

promissory note in the amount of $96,000.00 (the “Loan”).

          4.   On June 15, 2015, Ranieri filed a voluntary petition for relief under Chapter 13 of

the Bankruptcy Code.

          5.   Simultaneously with the voluntary petition, Ranieri filed his Chapter 13 plan, which

was subsequently amended on October 7, 2015. Each plan provided identical treatment of 21st
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Mortgage’s claim, which was specifically identified in the following provision of in Special

Terms [as provided in Paragraph G]:

        The value of 21st Mortgage’s claim on [Ranieri’s] property located at 1151 Franklin
        Street, Mundelein, Illinois is valued at zero. Consequently, 21st Mortgage’s second
        mortgage lien is to be stripped and avoided from property upon completion of plan
        payments as provided by [Ranieri’s] Chapter 13 plan. 21st Mortgage is to release
        lien against property within 30 days of completion of plan payments as provided in
        [Ranieri’s] Chapter 13 plan.

        6.      On June 18, 2015, notice of Ranieri’s Chapter 13 plan was sent to 21st Mortgage

by the Bankruptcy Noticing Center.

        7.      On August 10, 2015, 21st Mortgage filed an Objection to Confirmation of Ranieri’s

June 15, 2015 plan.

        8.      On October 7, 2015, Ranieri filed a Motion to Determine the Amount of 21 st

Mortgage’s Secured Claim.

        9.      On October 9, 2015, 21st Mortgage filed an Objection to Confirmation of Ranieri’s

October 7, 2015 plan.

        10.     On October 30, 2015, 21st Mortgage withdrew its Objection to Confirmation of

Ranieri’s October 7, 2015 plan.

        11.     On February 11, 2016, the Court confirmed Ranieri’s October 7, 2015 plan. The

Court also granted Ranieri’s Motion to Determine the Amount of 21st Mortgage’s Secured Claim.

        12.     The Order Confirming Plan was not appealed. Accordingly, the Order Confirming

Plan is a final order.

        13.     Ranieri successfully completed plan payments in accordance with confirmed

Chapter 13 plan.

        14.     On September 7, 2018, Chapter 13 Trustee filed a Notice of Completion of Plan

Payments.
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       15.     On November 12, 2018 – 66 days later – 21st Mortgage mailed Ranieri a Mortgage

Statement.

       16.     Among other things, this Mortgage Statement stated a “Payment Amount” of

$62,925.38.

       17.     It also stated that late fees of $48.45 will be charged if Ranieri’s payment is received

after December 16, 2018.

       18.     Ranieri filed for relief under Chapter 13 of the Bankruptcy Code to strip and avoid

21st Mortgage’s second mortgage lien so that he emerges from Chapter 13 with a fresh start.

       19.     21st Mortgage’s failure to comply with Ranieri’s confirmed Chapter 13 plan has

caused Ranieri to experience anxiety, confusion, and shock consistent with believing that filing

for relief under Chapter 13 of the Bankruptcy Code was futile, and that 21st Mortgage will threaten

to, and in fact, eventually foreclose on his home.

       20.     Suffice it to say, Ranieri has been denied the opportunity to face a new opportunity

in life with a clear field for future effort unfettered by this second mortgage lien.

       21.     Section 1327(a) of the Bankruptcy Code provides, “[t]he provisions of a confirmed

plan bind the debtor and each creditor, whether or not the claim of such creditor is provided for by

the plan, and whether or not such creditor has objected to, has accepted, or has rejected the plan.”

11 U.S.C. § 1327(a).

       22.     Ranieri’s confirmed Chapter 13 plan provides:

       The value of 21st Mortgage’s claim on [Ranieri’s] property located at 1151 Franklin
       Street, Mundelein, Illinois is valued at zero. Consequently, 21 st Mortgage’s second
       mortgage lien is to be stripped and avoided from property upon completion of plan
       payments as provided by [Ranieri’s] Chapter 13 plan. 21 st Mortgage is to release
       lien against property within 30 days of completion of plan payments as provided in
       [Ranieri’s] Chapter 13 plan.
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       23.     As Ranieri’s plan is confirmed, this provision is binding on Ranieri and 21st

Mortgage. See 11 U.S.C. § 1327(a) (providing for binding effect of confirmation).

       24.     21st Mortgage’s failure to release lien against Ranieri’s property within 30 days of

completion of plan payments constitutes willful violation of Ranieri’s confirmed Chapter 13 plan.

       25.     A violation of a confirmation order is an act of contempt, which like the discharge

injunction, may be remedied by the bankruptcy court’s authority under 11 U.S.C. § 105(a).

       26.     11 U.S.C. § 105(a) allows the court to take any action or make any determination

necessary or appropriate to enforce or implement court orders, and its inherent authority authorize

the court to award attorney’s fees when holding a party in contempt for failure to comply with a

prior confirmation order.

       27.     The court’s authority to enforce its orders, including a confirmation order, under §

105(a) must necessarily include the ability to award fees to a debtor who is forced to bring an

action, and thus incur attorney’s fees, to compel a creditor’s compliance with the binding plan and

the order confirming the plan.

       WHEREFORE, Ranieri request the following relief:

       A.      Find that 21st Mortgage violated this Court’s Order Confirming Plan;

       B.      require that 21st Mortgage release its lien against Ranieri’s property;

       C.      award actual, and punitive damages, and costs and attorneys’ fees; and

       D.      award any other relief deemed appropriate and equitable.

Dated this 10th day of December, 2018                        Respectfully submitted,

                                                             BRUNO RANIERI

                                                             By: /s/ Joseph Scott Davidson

                                                             Joseph Scott Davidson
                                                             Mohammed Omar Badwan
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